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                     UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF GEORGIA
                          BRUNSWICK DIVISION


STATE OF GEORGIA, et al.,                     No. 2:15-cv-00079 LGW-BWC

              Plaintiffs,

      v.

ANDREW R. WHEELER, in his official
capacity as Acting Administrator, U.S.
Environmental Protection Agency, et
al.,

             Defendants.



     MOTION TO WITHDRAW AS COUNSEL OF RECORD FOR STATE OF
                          WISCONSIN

      Plaintiff State of Wisconsin hereby notifies this Court that Misha Tseytlin

will no longer be the Solicitor General of Wisconsin as of January 1, 2019. For this

reason, the State of Wisconsin respectfully moves for the withdrawal of Mr. Tseytlin

as counsel for the State of Wisconsin. The State of Wisconsin will continue to be

represented by other counsel of record from the Office of the Georgia Attorney

General.


                                              Respectfully submitted,


                                              s/ Misha Tseytlin
                                              MISHA TSEYTLIN
                                              Wisconsin Solicitor General
                                              Wisconsin Department of Justice
                                              17 West Main Street
                                              P.O. Box 7857
                                              Madison, WI 53707-7857
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                                        tseytlinm@doj.state.wi.us
                                        (admitted pro hac vice)
Dated: December 28, 2018




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                          CERTIFICATE OF SERVICE


      I hereby certify that on December 28, 2018, I filed the foregoing Motion to

Withdraw as Counsel of Record with the Clerk of the Court using the CM/ECF

System, which will send notice of such filing to all registered CM/ECF users.


                                             Dated: December 28, 2018
                                             s/ Misha Tseytlin
                                             MISHA TSEYTLIN




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